      Case 3:18-cv-02279-RS Document 99-4 Filed 11/02/18 Page 1 of 6



 1   MANATT, PHELPS & PHILLIPS, LLP
     JOHN F. LIBBY (Bar No. CA 128207)
 2   E-mail: jlibby@manatt.com
     JOHN W. MCGUINNESS (Bar No. CA 277322)
 3   E-mail: jmcguinness@manatt.com
     EMIL PETROSSIAN (Bar No. CA 264222)
 4   E-mail: epetrossian@manatt.com
     11355 West Olympic Boulevard
 5   Los Angeles, California 90064
     Telephone: (310) 312-4000
 6   Facsimile: (310) 312-4224

 7   LAWYERS’ COMMITTEE FOR CIVIL RIGHTS UNDER LAW
     KRISTEN CLARKE (Pro Hac Vice Application Forthcoming)
 8   Email: kclarke@lawyerscommittee.org
     JON M. GREENBAUM (Bar No. CA 166733)
 9   E-mail: jgreenbaum@lawyerscommittee.org
     EZRA D. ROSENBERG (Pro Hac Vice)
10   E-mail: erosenberg@lawyerscommittee.org
     DORIAN L. SPENCE (Pro Hac Vice)
11   E-mail: dspence@lawyerscommittee.org
     1401 New York Avenue NW, Suite 400
12   Washington, DC 20005
     Telephone: (202) 662-8600
13   Facsimile: (202) 783-0857

14   PUBLIC COUNSEL
     MARK ROSENBAUM (Bar No. CA 59940)
15   E-mail: mrosenbaum@publiccounsel.org
     610 South Ardmore Avenue
16   Los Angeles, California 90005
     Telephone: (213) 385-2977
17   Facsimile: (213) 385-9089

18   Attorneys for Plaintiffs
     CITY OF SAN JOSE and BLACK ALLIANCE FOR JUST
19   IMMIGRATION

20
                         IN THE UNITED STATES DISTRICT COURT
21
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
22
                               SAN FRANCISCO DIVISION
23

24   CITY OF SAN JOSE, a municipal              3:18-cv-02279-RS
     corporation; and BLACK ALLIANCE FOR
25   JUST IMMIGRATION, a California             DECLARATION OF OPAL TOMETI
     nonprofit corporation,
26                                              Assigned to the Honorable Richard G.
                 Plaintiffs,                    Seeborg
27
           vs.
28
                                            1
                               DECLARATION OF OPAL TOMETI
       Case 3:18-cv-02279-RS Document 99-4 Filed 11/02/18 Page 2 of 6



 1     WILBUR L. ROSS, JR., in his official
       capacity as Secretary of the U.S. Department
 2     of Commerce; U.S. DEPARTMENT OF
       COMMERCE; RON JARMIN, in his
 3     official capacity as Acting Director of the
       U.S. Census Bureau; U.S. CENSUS
 4     BUREAU,

 5                   Defendants.

 6

 7                                 DECLARATION OF OPAL TOMETI
 8
            I, Opal Tometi, declare as follows:
 9
            1.      I am the Executive Director of the Black Alliance for Just Immigration (“BAJI”).
10
     I have been in my current position for approximately six years. I have personal knowledge of the
11

12   facts set forth below and if called upon to testify, I could and would do so competently as follows:

13          2.      BAJI is a California nonprofit corporation with offices in Oakland, California; Los

14   Angeles, California; and New York, New York.
15
            3.      BAJI was founded in April 2006 in response to the mobilization of immigrant
16
     communities and their supporters against repressive immigration bills that were pending before
17
     the United States Congress at the time.
18
            4.      BAJI currently has approximately 1200 members who are predominantly Black
19

20   immigrants, refugees, and/or African Americans. Though its membership is nationwide, BAJI’s

21   members are concentrated in Oakland, California and other parts of the California Bay Area,
22   including San Jose; Los Angeles, California; New York, New York; Miami, Florida; Atlanta,
23
     Georgia; and Washington, D.C.
24
            5.      BAJI receives funding from individual donors.
25
            6.      Propelled by the belief that a thriving multiracial democracy requires racial, social,
26
27   and economic justice for all, BAJI’s core mission is to educate and engage African American and

28
                                                      2
                                      DECLARATION OF OPAL TOMETI
       Case 3:18-cv-02279-RS Document 99-4 Filed 11/02/18 Page 3 of 6



 1   Black immigrant communities to organize and advocate for racial, social and economic justice for
 2   themselves and other underrepresented communities.
 3
            7.      BAJI fulfills its mission through various means, including, but not limited to,
 4
     dialogues, presentations, workshops, publications, technical assistance, and trainings.
 5
            8.      BAJI also builds coalitions and initiates campaigns to advance racial justice, and,
 6

 7   at the local and regional levels, provides its partner organizations with relevant training and

 8   technical assistance to promote culture shifts necessary to secure equal rights for

 9   underrepresented minority communities.
10
            9.      BAJI’s mission is harmed because the addition of the citizenship question to the
11
     2020 Decennial Census creates a legitimate risk of a heightened undercount of immigrant
12
     populations. The impact of such an undercount, including a dilution of political power and a loss
13
     of federal funding, on the very immigrant communities that BAJI serves impedes its mission to
14

15   advance these communities’ access to racial, social, and economic justice.

16          10.     Additionally, because BAJI’s members are typically concentrated in immigrant-
17   rich metropolitan regions, the impact of an undercount will be disproportionately felt in these
18
     discrete locations.
19
            11.     BAJI has heard from several of its members who are concerned about the inclusion
20
     of a citizenship question on the 2020 Decennial Census. Many have expressed reluctance about
21

22   participating in the 2020 Decennial Census because of the addition of this question. The fears of

23   BAJI’s members about responding to a citizenship question have been further heightened by the

24   current political environment, including a perceived increase in relentless anti-immigrant rhetoric.
25   Several more are apprehensive about the effects of the question, such as a decline in their political
26
     representation and, with that, a decrease of critical federal funding. BAJI’s members are
27

28
                                                       3
                                       DECLARATION OF OPAL TOMETI
       Case 3:18-cv-02279-RS Document 99-4 Filed 11/02/18 Page 4 of 6



 1   concerned that such an impact can exacerbate the inequality experienced by their communities
 2   which have already been historically underrepresented.
 3
            12.     BAJI has also taken steps to divert some of its essential and limited resources—
 4
     including time and money—from other important matters that BAJI ordinarily would have been
 5
     addressing to respond to the addition of the citizenship question to the 2020 Decennial Census
 6

 7   and to counteract the harmful effects of the question.

 8          13.     These outreach and mitigation efforts will divert, and already have diverted, time

 9   and money that would otherwise be spent on BAJI’s core mission.
10
            14.     To ensure that BAJI’s members are properly counted in the 2020 Decennial
11
     Census, BAJI will also be compelled to conduct additional outreach to these communities to
12
     encourage them to participate in the 2020 Census questionnaire. BAJI has determined that such
13
     outreach will require the expenditure of additional resources, such as money, staff time, and
14

15   operational expenses, including, but not limited to, materials, computers, telephones, and other

16   office equipment.
17          15.     The inclusion of a citizenship question on the 2020 Decennial Census will
18
     therefore require BAJI to divert its limited and essential resources prior to the date the Census is
19
     conducted, regardless of the ultimate impact of the question itself.
20
            16.     Because these resources will be diverted and used to encourage participation
21

22   among groups likely to be affected by the citizenship question before the 2020 Decennial Census

23   takes place, including Black immigrants and other historically underrepresented minority groups,

24   these resources will be expended regardless of whether the Census Bureau’s Non-Response
25   Follow Up (“NRFU”) procedures ultimately correct any initial undercount.
26
            17.     As a result of an anticipated undercount of Black immigrants and other historically
27
     underrepresented communities that BAJI serves, BAJI will have to further divert resources to
28
                                                       4
                                       DECLARATION OF OPAL TOMETI
       Case 3:18-cv-02279-RS Document 99-4 Filed 11/02/18 Page 5 of 6



 1   investigate the scope of the harm of the undercount on its members and core mission. BAJI will
 2   also have to divert its resources to combat any resulting reduction in political representation, loss
 3
     of federal funding, and other harmful effects suffered by the communities it serves.
 4
             18.      BAJI has begun to prepare for these harmful effects by engaging partner
 5
     organizations and donors in conversations about census outreach, preparing strategies to engage
 6

 7   Black immigrant communities in the Census, and soliciting potential funding for census outreach

 8   and education.

 9           19.      The aforementioned impact of the addition of a citizenship question to the 2020
10
     Decennial Census, and BAJI’s diversion of its resources to address the same, has impaired BAJI’s
11
     ability to carry out its mission to fostering racial, economic, and social equality for Black
12
     immigrants and other historically underrepresented communities.
13
             20.      To date, BAJI has expended many hours of additional staff time and related
14

15   financial resources to field phone calls, provide updates, and answer questions from its

16   constituents, and other community members, about the addition of a citizenship question to the
17   2020 Decennial Census. Given the nature of the census taking process, BAJI is reserving the
18
     majority of the expenditure it will use to address the addition of the citizenship question –
19
     resources that will likely be diverted from its other essential services – for its efforts to bolster
20
     census participation among its members and other underrepresented minority communities who
21

22   are fearful about responding to the citizenship question. Accordingly, BAJI expects to allocate at

23   least an additional $200,000 in the next two (2) years to addressing the addition of a citizenship

24   question to the 2020 Decennial Census and attempting to mitigate its harmful effects.
25

26
27

28
                                                        5
                                        DECLARATION OF OPAL TOMETI
       Case 3:18-cv-02279-RS Document 99-4 Filed 11/02/18 Page 6 of 6



 1          I declare under penalty of perjury under the laws of the United States that the foregoing is

 2   true and correct. Executed on November 2, 2018 in Los Angeles, California.

 3

 4

 5                                                        OPAL TOMETI
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                     6
                                     DECLARATION OF OPAL TOMETI
